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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                              :          CASE NO. 21-54507-WLH
                                                    :
TAMARA R. FLOYD,                                    :          CHAPTER 7
                                                    :
         Debtor.                                    :
                                                    :


 MOTION TO EXTEND DEADLINE FOR TRUSTEE AND UNITED STATES TRUSTEE
                TO OBJECT TO DEBTOR’S DISCHARGE

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

of Tamara R. Floyd (“Debtor”), and under Fed. R. Bankr. P. 4004(b) respectfully applies for an

extension of time for the filing of a complaint objecting to Debtor’s discharge (the “Motion”),

respectfully showing the Court as follows:

                                        Jurisdiction and Venue

      1.           This Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This

is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this Court under 28 U.S.C. §§

1408 and 1409.

                                           Background Facts

                                        a. General Background

      2.           Debtor commenced the above-styled bankruptcy case by filing a voluntary petition

[Doc. No. 1] under Chapter 7 of Title 11 of the United States Code on June 14, 2021 (the “Petition

Date”), initiating Case No. 21-54507-WLH (the “Case”).

      3.           Trustee was thereafter appointed and remains the duly acting Chapter 7 trustee in

this Case.
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       4.          The deadline for Trustee and the United States Trustee to file a complaint objecting

to Debtor’s Discharge is September 13, 2021 (the “Discharge Deadline”). As a result, this Motion

is timely filed.

     b. Section 341 Creditors Meeting and Trustee’s Request for Documents and Information

       5.          The Chapter 7 Section 341 Meeting of Creditors (the “Section 341 Meeting”) was

originally scheduled for July 15, 2021 but was rescheduled to August 3, 2021 on account of

Debtor’s failure to appear.

       6.          The August 3, 2021 341 Meeting of Creditors was held but continued to September

1, 2021 for Debtor to produce a copy of her most recently filed tax return and testify to its

authenticity.

       7.          On September 1, 2021, the Section 341 Meeting was continued to September 28,

2021 due to Debtor’s failure to appear.

                                  Relief Requested and Basis for Same

       8.          Trustee needs additional time to determine whether Debtor is entitled to a discharge

in this Case, including, among other things, time to determine whether Debtor has made any

material misstatements in his bankruptcy disclosure forms that could result in a denial of his

discharge under 11 U.S.C. § 727. Trustee moves to extend the Discharge Deadline for Trustee and

the United States Trustee for an additional 90 days, through and including December 12, 2021.

       9.          Rule 4004(b)(1) of the Federal Rules of Bankruptcy Procedure provides that “[o]n a

motion of any party in interest, after notice and hearing, the court may for cause extend the time to

object to discharge.” Fed. R. Bankr. P. 4004(b)(1) (emphasis added).

      10.          Here, Trustee is a party in interest. And, given Trustee’s request for documentation

and information, cause exists to extend the Discharge Deadline.
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       WHEREFORE, Trustee prays that the Discharge Deadline for Trustee and United States

Trustee to file a complaint objecting to Debtor’s discharge be extended for 90 days, through and

including December 12, 2021, and that the Court grant Trustee such other and further relief as may

be just and proper.

       Respectfully submitted this 13th day of September, 2021.



                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
Hays Financial Consulting, LLC                      Chapter 7 Trustee
2964 Peachtree Road, NW, Ste 555
Atlanta, GA 30305
(404) 926-0060
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                                CERTIFICATE OF SERVICE

       I, S. Gregory Hays, hereby certify that I have this day caused to be served copies of the
foregoing Motion to Extend Deadline for Trustee and United States Trustee to Object to
Debtor’s Discharge upon the following entities by first class United States Mail, postage
prepaid, at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Bldg.
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

Tamara R. Floyd
3135 Summer Court Drive
Jonesboro, GA 30239

       This 13th day of September, 2021.



                                                   /s/ S. Gregory Hays
                                                   S. Gregory Hays
                                                   Chapter 7 Trustee
